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                           UNITED STATES DISTRICT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                   Case No. 1:21-cr-000052 (TJK)
     -v-
WILLIAM PEPE,
           Defendant.




MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS COUNT 2:
          OBSTRUCTION OF AN OFFICIAL PROCEEDING




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        Mr. Pepe, by and through his counsel, tenders this memorandum in support of his motion

to dismiss the indictment as to Count 2 as defective because, as a matter of law, the Electoral

College Vote Certification was not an “official proceeding” within the meaning of the statute. As

such, the Government has failed to state an essential element of the charge and it must be

dismissed.

  I.    INTRODUCTION
        The Government’s indictment is defective with regard to 18 U.S.C. § 1512(c)(2) because

it fails to state an essential element of the offense. 1512(c)(2) requires Mr. Pepe to have “otherwise

obstruct[ed], influence[ed], or impede[ed] any official proceeding.” The Congressional vote to

confirm President Joe Biden’s electoral victory does not constitute an “official proceeding” under

the statutory language of 18 U.S.C. §§ 1515(a)(1) and 1512(c)(2). Therefore the 1512(c)(2) count

against Mr. Pepe must be dismissed.

        For purposes of defining “official proceeding” in 18 U.S.C. § 1512, “proceeding” has been

defined in various ways, ranging from the broad to the specific. Consulting both lay and legal

dictionaries suggests that “proceeding” may be used either in a general sense to mean the carrying

on of an action or series of actions, or more specifically as a legal term of art to mean a legal action

or process; any act done by authority of a court of law; a step taken by either party in a legal case.

United States v. Ermoian, 752 F.3d 1165, 1169 (9th Cir. 2013), as amended (Aug. 28, 2013)

“‘Proceeding’ in the legal context has also been defined as a word much used to express

the business done in courts” and “is an act done by the authority or direction of the court, express

or implied.” Edwin E. Bryant, The Law of Pleading Under the Codes of Civil Procedure, 3-4 (2d

ed. 1899)). These definitions alone indicate proceeding has a narrower definition than may readily

appear. Further, the surrounding statutory language, legislative scheme, and rule of lenity all

further clarify an “official proceeding” under 1512 requires a quasi-judicial function, which is

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lacking from the Congressional vote to confirm President Joe Biden. Accordingly, the indictment

is defective for failing to state an offense and the charge must be dismissed. Fed. R. Crim. P. 12

(b)(3)(B)(v).

 II.   FACTS OF THE CASE
       William Pepe is a resident of Long Island and works for an HVAC company. He does not

do drugs or drink and has not drank in 4 years. Mr. Pepe travelled to DC numerous times

including November and December of 2020 to protest. Mr. Pepe never engaged in violence at

either of these events.

        On November 3, 2020 one of the most contentious elections ever was conducted during

the middle of unprecedented changes to the voting system because of the COVID-19 pandemic.

At a December 5th 2020 Protest, Mr. Pepe met a Mr. Pezzolla and became friendly with him. They

spoke irregularly, usually before going to protests. Prior to January 6, 2021, Mr. Pepe had never

met Mr. Greene

        On December 14, 2020, the electors from each state in the Electoral College voted and

elected Joseph R. Biden as the next president of the United States. On January 6, 2021, a joint

session of Congress was held with Vice President Mike Pence to certify the count of the election

and announce President-elect Biden as the next President.

       This certification process requires that the president of the Senate, Vice President Mike

Pence, presides over the session. Vice President Pence duties were to open and present the electoral

vote certificates from each state and Washington, D.C., in alphabetical order. The certificates are

to be read aloud by “tellers,” members of the U.S. House of Representatives and Senate appointed

to the roles. The vice president then asks if any members of Congress wish to object to any of the

votes. The Electoral Count Act of 1887 allows members of Congress to object to a state’s electoral

vote. Objections must be written and signed by at least one member of the House and one senator,

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then submitted after the state’s vote is read. The two chambers then meet separately and debate for

up to two hours before deciding whether to continue voting given the objection. The objection fails

unless both chambers vote by a simple majority to concur with the objection. After all the votes

are read, the tellers record and count them. The vice president then declares an official winner once

one presidential ticket reaches 270 votes.

        On the same day as this routine institutional action, President Trump held a “Stop the Steal”

Rally on the National Mall, drawing thousands of his supporters from all over the country to protest

the certification of the election.

        On January 5, 2021 Mr. Pepe had work and worked until midnight. After work he made

the decision to go to DC to protest on the 6th and decided to drive through the night. Mr. Pepe

arrived in DC at approximately 5:30 in the morning.

        On January 6, 2021, Mr. Pepe was wearing casual clothing. He did not have any tactical

gear apart from his radio. He did not have any weapons of any kind. Mr. Pepe did not attend the

Stop the Steal Rally, but did meet up with friends from Hudson Valley, New York at a church on

the morning of January 6.

        Mr. Pepe and his friends walked to the monuments and then to the Capitol building to

protest. People ahead of him threw barricades in his direction forcing him to push them out of the

way to avoid being hit by them. Mr. Pepe was around and near police officers at numerous points,

including when he moved a barricade to avoid being trampled by the crowd behind him, and was

never told to stop, not to do it or that he was entering a restricted area or could face jail for entering.

Mr. Pepe was not violent and did not engage in or participate in any violence or destruction of

property at the Capitol




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       Mr. Pepe was unaware that Mr. Pezzola was the one who broke a window, or stole a police

riot shield. He did not communicate with Mr. Pezzola about these activities. Mr. Pepe was unaware

of the manner in which the door he walked through was opened. Mr. Pepe walked through an

already forced open door into the Capitol building and wandered the halls into the Rotunda. He

did not touch anything or break anything. He engaged in no violence. He took some pictures and

videos, and stayed within the building for approximately thirty to forty-five minutes and then left.

       After January 6, Mr. Pepe received a ride home from his Hudson valley friends and did not

meet back up with Mr. Pezzola or Mr. Greene or discuss the events with them.

III.   LEGAL STANDARD
       A criminal defendant may move to dismiss an indictment before trial based on a "defect in

the indictment," including for "failure to state an offense." Fed. R. Crim. P. 12(b)(3)(B)(v). “[A]

pretrial motion to dismiss an indictment allows a district court to review the sufficiency of the

government's pleadings, but it is not a permissible vehicle for addressing the sufficiency of the

government's evidence." United States v. Mosquera-Murillo, 153 F. Supp. 3d 130, 154 (D.D.C.

2015) (citation and internal quotation marks omitted). "In ruling on a motion to dismiss for failure

to state an offense, a district court is limited to reviewing the face of the indictment and, more

specifically, the language used to charge the crimes." United States v. Sunia, 643 F. Supp. 2d 51,

60 (D.D.C. 2009) (emphasis added).

              [A]n indictment is sufficient if it, first, contains the elements of the
              offense charged and fairly informs a defendant of the charge against
              which he must defend, and, second, enables him to plead an acquittal
              or conviction in bar of future prosecutions for the same offense."
              Hamling v. United States, 418 U.S. 87, 117, 94 S. Ct. 2887, 41 L. Ed.
              2d 590 (1974). The notice requirement "is established in the Sixth
              Amendment, which provides that '[i]n all criminal prosecutions, the
              accused shall enjoy the right . . . to be informed of the nature and
              cause of the accusation[.]'" United States v. Hillie, 227 F. Supp. 3d
              57, 69 (D.D.C. 2017) (quoting U.S. Const. Amend. VI). "A valid
              indictment also preserves the Fifth Amendment's protections against

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                abusive criminal charging practices; specifically, its guarantees that
                a criminal defendant can only be prosecuted for offenses that a grand
                jury has actually passed up on, and that a defendant who is convicted
                of a crime so charged cannot be prosecuted again for that same
                offense.

                Id.

        An indictment must be viewed as a whole and the allegations must be accepted as true in

determining if an offense has been properly alleged. United States v. Bowdin, 770 F. Supp. 2d 142,

146 (D.D.C. 2011). The operative question is whether the allegations, if proven, would be

sufficient to permit a jury to find that the crimes charged were committed. Id. An indictment must

contain every element of the offense charged, if any part or element is missing, the indictment is

defective and must be dismissed. See Hillie, 227 F. Supp. 3d at 70.

IV.     The Government Has Failed to Charge an Essential Element of the Offense.
        To satisfy the constitutional requirements for an indictment the indictment, when viewed

as a whole, must contain all the essential elements of the offense charged. Bowdin, 770 F. Supp.

2d at 146. Obstruction of an Official Proceeding, under 18 U.S.C. § 1512 (c)(2), 1 requires that Mr.

Pepe “corruptly . . . obstructs, influences, or impedes any official proceeding, or attempts to do

so.” An “official proceeding” in this section is defined in § 1515 (a)(1) as:

                 a.       a proceeding before a judge or court of the United States, a United States
                          magistrate judge, a bankruptcy judge, a judge of the United States Tax
                          Court, a special trial judge of the Tax Court, a judge of the United States
                          Court of Federal Claims, or a Federal grand jury;
                 b.       a proceeding before the Congress;
                 c.       a proceeding before a Federal Government agency which is authorized by
                          law; or
                 d.       a proceeding involving the business of insurance whose activities affect
                          interstate commerce before any insurance regulatory official or agency or
                          any agent or examiner appointed by such official or agency to examine the
                          affairs of any person engaged in the business of insurance whose activities
                          affect interstate commerce.” Id.

1
 Unless otherwise specified, all further references to statute in this memorandum refer to Title 18 of the United
States Code.

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       Thus, the essential elements require some corrupt intent, an action that “obstructs,

influences, or impedes” and “an official proceeding.” While Mr. Pepe continues to dispute the fact

that he had the corrupt intent to obstruct anything, a pretrial motion to dismiss is not the proper

forum for these arguments and it will not be made here. Rather, Mr. Pepe contends that, as a matter

of law, the certification of the Electoral College vote on January 6, 2021 was not an “official

proceeding” within the meaning of the statute because it did not have a “quasi-judicial function.”

As a result, the Government has failed to charge an essential element of obstruction of an “official

proceeding” and this charge must be dismissed.

       A.     An “Official Proceeding” Requires a Quasi-Judicial Function
              1. The Surrounding Statutory Language Indicates Congress’s Intent for
                 1512(c)(2) To Be Interpreted Narrowly
       The statutory language and history indicate that the statute does not apply to the January 6

certification of election results. The title of § 1512 is “Tampering with a witness, victim, or an

informant.” It was enacted as part of the Victim and Witness Protection Act of 1982. As explained

in the Justice Manual, § 1512 “proscribes conduct intended to illegitimately affect the presentation

of evidence in Federal proceedings or the communication of information to Federal law

enforcement officers” and applies to tampering with witnesses in “proceedings before Congress,

executive departments, and administrative agencies, and to civil and criminal judicial proceedings,

including grand jury proceedings.”1 The title of § 1512, and placement in the statutory scheme,

indicate that it was intended solely and exclusively to punish and deter those who would interfere

with quasi-judicial investigatory proceedings. Accordingly, § 1512 may apply where a person

intimidates a witness called to testify during a congressional investigation or an impeachment.

However, § 1512 plainly does not apply when Congress is merely engaging in a routine, ministerial

function, such as certification of a presidential vote.


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       Regarding the language of § 1512(c)(2), “proceeding” is limited by the prefatory phrase

“official,” which narrows the scope of application to quasi-judicial functions. For purposes of

defining “proceeding” in § 1515, use of the preposition “official” before in connection with the

term Federal Government agency, Congress, or the Courts implies that an “official proceeding”

involves some formal convocation in which parties are directed to appear, instead of any informal

investigation or nonjudicial conduct by a governmental body conducted by any member of the

agency. See Ermoian, 727 F.3d at 895.

   The Fifth Circuit acknowledged the definition of “official proceeding” must be defined

narrowly based on its definition found in § 1515(a)(1)(c). United States v. Ramos, 537 F.3d 439,

462-63 (5th Cir. 2008); United States v. Dunn, 434 F. Supp. 2d 1203, 1207 (M.D. Ala. 2006). The

Court recognized, as other circuits confirmed, that the definition of “official proceeding” is

presented in a circular manner requiring the court to examine the surrounding language of the

statute to determine Congress’s intent. Id.; see Proceeding, Black's Law Dictionary, 1241 (8th ed.

2004) (defining proceeding in relevant part as “3. An act or step that is part of a larger action” and

“4. The business conducted by a court or other official body; a hearing,” and also citing

approvingly an understanding of “proceeding” as “much used to express the business done in

courts”).

       The Ninth Circuit properly identified that difficulty arises from the fact that “proceeding”

has both a general, lay meaning, and a technical meaning, thereby requiring the court to look

beyond dictionary definitions at the words and surrounding phrases of the statute to determine the

meaning of the term. Id. The full term used in § 1512 is “official proceeding.” See § 1515.

Congress’s deliberate use of the prefix “official” indicates a Congressional intent to apply the

narrower legal definition to the term “proceeding” rather than the more expansive, layperson’s



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definition. Ermoian, 752 F.3d at 1170. Further, the term “official proceeding,” and the clause it is

contained in, is surrounded with other terms contemplating legal usage such as “judge and court,”

“Federal grand jury,” “Congress,” “Federal Government agency,” and the clarification that the

type of proceeding at issue is those that “is authorized by law.” Id. These factors weighed together

by the Court heavily indicated Congress’ intent was for “official proceeding” to be defined

narrowly and not be applicable to all government actions.

       The Ninth Circuit defined “official proceeding” narrowly as to not include federal agency

criminal investigations. “Examining the term ‘proceeding’ within the grammatical structure of the

definition at issue, it becomes clear that the term connotes some type of formal hearing.” Id.

Further, the Fifth Circuit explained when addressing this same definition, of “official proceeding”

the preparatory qualifiers and surrounding formal legal language implies that an ‘official

proceeding’ involves some formal convocation of the agency in which parties are directed to

appear, instead of any informal investigation conducted by any member of the agency. Ramos, 537

F.3d at 462-63. This indicates that the “official proceeding” element of § 1512 is limited in its

application to government actions with a quasi-judicial character. The electoral college vote

confirmation wholly lacks these quasi-judicial characteristics.

       The Second Circuit has also assigned a narrow definition to “official proceeding” when

examining § 1512(c)(1) finding the work of senior officials charged with “quasi-adjudicative”

responsibilities would fit the definition of “official proceeding.” United States v. Perez, 575 F.3d

164, 169 (2d Cir. 2009). This precedent again reinforces that in determining if a government action

constitutes an “official proceeding” to which § 1512(c) is meant to apply, there must be a quasi-

judicial function at work, and not a mere institutional action.




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          The Second Circuit further clarified the requirements to qualify as an “official proceeding,”

holding that the disputed Use of Force Program Statement in the case was more than a preliminary

investigation or mere institutional action. Id. Critically, the action at issue contained a detailed

process of review of decision making, a review by a panel of senior officials, was designed to

determine if a policy had been adhered to, and review the nature and findings of After-Action

Reports. Id. Detailed process review and a quasi-judicial function were present in order to satisfy

the requirements of an “official proceeding.” Thus, in all the instances in which the term “official

proceeding” is used in § 1512, it is in contemplation of a quasi-judicial hearing. See Ramos, 537

F.3d at 463.

          The term "official proceeding" implies something more formal than a mere investigation

or routine institutional action. The limiting term “official proceeding” prevents a statutory sprawl

in which the countless communications of citizens with one agency or another of the federal

government lay the groundwork for a potential obstruction prosecution. See Marinello v. United

States, 138 S. Ct. 1101, 1109-10 (2018) (reading tax obstruction statute not to extend to “routine,

day-to-day work carried out in the ordinary course by the IRS”). Rather, § 1512(c)(2) is meant to

perform the narrowly focused function of and deterring individuals who seek to intimidate or

eliminate government witnesses who are set to give testimony or perform other roles in judicial or

quasi-judicial proceedings. The vote confirmation of President Joe Biden by Congress does not

exhibit any quasi-judicial characteristics and instead falls into the category of routine institutional

action.

                2. Accepted Canons of Statutory Interpretation Favor a Narrow Definition
                   of “Official Proceeding” That Does Not Include the Election Certification
                   Results
          The term “official proceeding” in § 1515(a)(1)(C) indicates that a more formal sense of the

term is the correct interpretation in the context of § 1512. The definition provided in Section

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1515(a)(1)(C) uses the additional preposition "before" in connection with the term "Federal

Government agency," which implies that an "official proceeding" involves some formal

convocation of the agency in which parties are directed to appear. Ramos, 537 F.3d at 462-63;

Dunn, 434 F. Supp. 2d at 1207. This paired with the preparatory word “official” qualifying

“proceeding,” disqualifies the lay definition of the term proceeding, and confirms that a narrower

technical definition must be applied to the statutory term.

       This form of statutory interpretation is well accepted by the nation’s leading legal minds.

“Sometimes context indicates that a technical meaning applies. . . . And when law is the subject,

ordinary legal meaning is to be expected, which often differs from common meaning." Antonin

Scalia & Bryan A. Garner, Reading Law: The Interpretation of Legal Texts, 73 (2012). When

defining a statutory term, the court must choose to adopt a general or more technical meaning.

Multiple appeals courts have already adopted the narrower more technical meaning of “official

proceeding” in this statutory scheme. See Ermoian, 752 F.3d at 1171. The Fifth and Second Circuit

properly narrowed the application of § 1512 in establishing an “official proceeding” only applies

to government actions with quasi-judicial character.

              3. Rule of Lenity Favors Narrow Application
       Even if the Court finds the statutory language of § 1512 ambiguous as to the breadth of the

term “official proceeding” the court should still find the Congressional vote to confirm President

Joe Biden was outside the scope of the statute. When interpreting § 1512, courts must be mindful

of the rule of lenity requiring courts to interpret ambiguous criminal statutes in favor of the

defendant. See United States v. Orellana, 405 F.3d 360, 370 (5th Cir. 2005). When considering §

1512(c)(2), if the court does not adopt a narrow definition of the term “official proceeding,” a

definition that only includes government actions with a quasi-judicial function and those other acts



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explicitly named in the statute—then the court must apply the rule of lenity to remedy the statute’s

overbroad and vague language.

       The Fifth Circuit acknowledged the ambiguity of the term “official proceeding” in this

statute, which led the court to apply the statute narrowly. See Ramos, 537 F.3d at 463-464. The

Court held “any ambiguity leads to the same conclusion-- that § 1512 cannot be applied to the facts

here. Such ambiguity and the absence of binding case law would require us to apply the rule of

lenity.” See Orellana, 405 F.3d at 370.

       The rule of lenity in this case mandates a narrowing of the term “official proceeding” to

only include government actions with a quasi-judicial character. Failure to apply the rule of lenity

in this case would result in a statute which fails to give citizens reasonable notice of when they

have begun to commit a serious felony carrying an up to a twenty-year prison sentence.

       B.     Process of Confirming President Joe Biden’s Victory Does Not Constitute a
              Quasi-Judicial Function
       The election certification on January 6 was not an “official proceeding” within the meaning

of the statute. The election certification process requires that the president of the Senate, Vice

President Mike Pence, presides over the session, open, and present the electoral vote certificates

from each state. The certificates are read aloud by “tellers,” members of the U.S. House of

Representatives and Senate appointed to the roles. The vice president then asks if any members of

Congress wish to object to any of the votes. The Electoral Count Act of 1887 allows members of

Congress to object to a state’s electoral vote. Objections must be written and signed by at least one

member of the House and one senator, then submitted after the state’s vote is read. The two

chambers then meet separately and debate for up to two hours before deciding whether to continue

voting given the objection. The objection fails unless both chambers vote by a simple majority to

concur with the objection. After all the votes are read, the tellers record and count them. The vice


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president then declares an official winner once one presidential ticket reaches 270 votes.2 “The

process is typically undramatic and ceremonial. It took 35 minutes to complete in 2017, 22 minutes

in 2013 and 29 minutes in 2009, according to CBS News reporter Nancy Cordes.”

       While the certification of the election may be an official proceeding of Congress under a

layman’s definition, when considering statutory construction and Court precedent, it is not an

“official proceeding” within the meaning of § 1512(c)(2). It is not “quasi-adjudicative” or

“hearing”-like. The certification of the election did not direct parties to appear or testify, or have

characteristics like a Court, Grand Jury, or adjudicative agency hearing. The indictment, which

alleges that Mr. Pepe obstructed an “official proceeding” is therefore defective as it has not alleged

an essential element of the crime. Even if all the facts in the indictment were taken in a light most

favorable to the Government, and it was shown that Mr. Pepe in fact did or attempted to obstruct

the electoral vote certification, the Government would still have not shown that Mr. Pepe violated

§ 1512(c)(2). Where an indictment is defective for failing to state an offense, it must be dismissed.

See Hillie, 227 F. Supp. 3d at 70.

V.     The Government’s Interpretation of 1512(c)(2) Renders the Greater Statutory
       Scheme Surrounding Obstruction of Congressional Proceedings Superfluous
       The Government’s overreach in utilizing § 1512(c)(2) to charge the defendants in the

Capitol cases becomes evident when considering the larger statutory scheme at issue. Section

1512(c)(2) carries a harsher penalty than neighboring sections of the law that specifically

enumerate criminal acts. It reads, "[w]hoever corruptly . . . otherwise obstructs, influences, or

impedes any official proceeding, or attempts to do so, shall be fined under this title or imprisoned

not more than 20 years, or both." The potential for a twenty-year prison sentence is what has drawn

the Government to § 1512(c)(2)—the Government seeks to impose harsher penalties on the

defendants than those that would be ordinarily available in the statutory scheme.


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        Any other statute criminalizing an attempt to obstruct justice not involving murder carries

a lower sentence than § 1512(c)(2). The Government has failed to utilize the statutory law more

plainly applicable to the charges being contemplated with the capitol riots, seemingly due to its

zeal to acquire higher sentences than the law allows.

        Section 1505, “Obstruction of proceedings before departments, agencies, and committees,”

provides a more properly concrete statutory definition of charges seemingly available to the

government in this case. Section 1515 criminalizes acts that corruptly obstruct, or impede or

endeavor to influence any pending proceeding that is being had before any department or agency

of the United States, or the due and proper exercise of the power of inquiry under which any inquiry

or investigation is being had by either House, or any committee of either House or any joint

committee of the Congress. The punishment for this crime is imprisonment of not more than five

years. Such a statute is rendered superfluous by the Government’s interpretation of § 1512(c)(2)

despite its more direct application to the case at hand and lack of ambiguous language.

       Further, the Government’s novel interpretation of § 1512(c)(2) is harsh, broad, ill-defined,

and threatens to aggressively encroach on citizens’ basic right to petition guaranteed by the First

Amendment of our Constitution. See U.S. Const. amend. I (“Congress shall make no law . . .

abridging . . . the right of the people . . . to petition the Government for a redress of grievances.”).

The Government’s proposed application of § 1512 to any proceeding before Congress threatens to

chill or burden excessively the right of persons to protest. See United States v. Sutherland, 921

F.3d 421, 426 (4th Cir. 2019). Under the Government’s proposed interpretation of the statute, a

twenty-year sentence could be imposed against any protestors who block traffic on the way to the

Capitol or otherwise delay any Congressmember from going about any official task. Despite such

acts occurring regularly in modern politics, the Government has never before made such repressive



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use of § 1512 until now, when the government has chosen to deploy the statute in an unprecedented

manner on a massive scale.

VI.    CONCLUSION
       For the forgoing reasons, the indictment with respect to the charges alleging obstruction

of an official proceeding under 18 U.S.C. § 1512(c)(2) are defective for failing to state an

offense. The Court should dismiss these charges.

Date: May 11, 2021                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that, on May 11, 2021, the forgoing accompany documents was filed

via the Court’s electronic filing system, which constitutes service upon all counsel of record.

                                              /s/ John M. Pierce
                                              John M. Pierce




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